                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               COLUMBIA DIVISION


UNITED STATES OF AMERICA                                 )
                                                         )
                                                         )
v.                                                       )       Criminal No. 1:12-00001
                                                         )       Judge Trauger
                                                         )
[2] WAYNE HAMPTON, JR., a/k/a “June-B,”                  )
[3] DEVARIO MCFARLAND, a/k/a “Sug,” and                  )
[4] RAY USSERY                                           )

                                               ORDER

         This case is set for jury trial on January 15, 2013, at 9:00 a.m. in Courtroom 873, United

States Courthouse, 801 Broadway, Nashville, Tennessee. As soon as it appears that the case will

be tried, the parties shall notify Judge Trauger’s courtroom deputy of the anticipated number of

trial days that will be necessary.

         Any plea agreement shall be consummated by noon on the Thursday before the trial, and

the Courtroom Deputy notified thereof. Any proposed plea agreement shall be submitted to the

Court by noon on the Friday before the trial. No plea agreement will be entertained unless it is

in compliance with this Order.

         In advance of any plea hearing, the United States Attorney shall submit to chambers

a document that lists the elements of each offense to which the defendant is pleading guilty

and the statutory penalty for each, including period of incarceration, fine, and period of

supervised release applicable.

         If the case is to be tried, the parties shall file the following by the close of business on the

Tuesday before the trial:

         1.      an agreed set of jury instructions;



     Case 1:12-cr-00001       Document 93         Filed 11/29/12       Page 1 of 2 PageID #: 195
       2.      alternative versions of jury instructions on which there is not an agreement, with
               citations to supporting authorities;

       3.      an agreed verdict form or alternative versions; and

       4.      motions in limine.

Responses to motions in limine shall be filed by 4:00 p.m. on the Friday before trial. Parties

shall deliver to chambers a computer disc containing all proposed instructions and verdict

forms that are filed.

       The requirements set forth herein shall also apply to any continuances of this trial.

       It is so ORDERED.

       ENTER this 29th day of November 2012.




                                                     ________________________________
                                                           ALETA A. TRAUGER
                                                             U.S. District Judge




  Case 1:12-cr-00001        Document 93        Filed 11/29/12        Page 2 of 2 PageID #: 196
